                        JOURNAL ENTRY AND OPINION *Page 2 
{¶ 1} Relator requests that this court compel respondent judge to issue findings of fact and conclusions of law with respect to the petition for postconviction relief filed by relator in State v.Bishop, Cuyahoga County Court of Common Pleas Case No. CR-494151 on February 28, 2008.
  {¶ 2} Respondent has filed a motion to dismiss and motion for summary judgment attached to which is a copy of the findings of fact and conclusions of law issued by respondent and received for filing by the clerk on July 2, 2008. Relator has not opposed the motion. Respondent argues that this action in mandamus is, therefore, moot. We agree.
  {¶ 3} Accordingly, respondent's motion to dismiss and motion for summary judgment is granted. Relator to pay costs. The clerk is directed to serve upon the parties notice of this judgment and its date of entry upon the journal. Civ. R. 58(B).
Writ denied.
  ANN DYKE, J., and FRANK D. CELEBREZZE, JR., J., CONCUR. *Page 1 